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           December 29, 2020



           Via ECF

           The Honorable Gregory H. Woods
           United States District Court
           Southern District of New York
           500 Pearl Street, Room 2260
           New York, NY 10007

                                 Cardwell v. Davis Polk & Wardwell LLP et al.
                                       19-cv-10256-GHW (S.D.N.Y.)

           Dear Judge Woods:

                           We write to confirm that, in accordance with this Court’s December 20,
           2020 Order (ECF 118), Davis Polk provided third-party consultants VallotKarp and Verna
           Myers with the materials specified by the Court. Both consultants expressed appreciation
           to Davis Polk for respecting the confidentiality of their proprietary materials in accordance
           with their contractual arrangements with the Firm. Neither, however, wishes to make a
           submission to the Court in this matter. In light of the third-party consultants’ decision not
           to seek the sealing of their materials, Davis Polk withdraws those portions of its motion to
           seal the Second Amended Complaint that relate to the VallotKarp and Verna Myers
           materials (see ECF 103 at 1–2, as to Exhibits 5 and 7 to ECF 99 and 100).

                                                   Sincerely,

                                                   /s/ Susanna M. Buergel

                                                   Susanna M. Buergel
